         Case 20-33331-KRH                       Doc 1     Filed 08/02/20 Entered 08/02/20 17:28:37                              Desc Main
                                                          Document      Page 1 of 20
Fill in this information to identify the case:

United States Bankruptcy Court for the:
                           Eastern District of Virginia
                                          (State)                                                                                 ☐ Check if this is an
Case number (if known):                                       Chapter      11                                                         amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                   04/20
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               Lord & Taylor LLC



2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)                   XX-XXXXXXX


4. Debtor’s address                       Principal place of business                                 Mailing address, if different from principal place
                                                                                                      of business
                                          250 Vesey Street, 22nd Floor
                                          Number           Street                                     Number         Street


                                                                                                      P.O. Box
                                          New York, New York 10281
                                          City                            State     Zip Code          City                         State      Zip Code

                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business
                                          New York County
                                          County                                                      Number         Street




                                                                                                      City                         State      Zip Code




5. Debtor’s website (URL)                 www.lordandtaylor.com

6.   Type of debtor                       ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                          ☐ Partnership (excluding LLP)

                                          ☐ Other. Specify:




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Debtor            Lord & Taylor LLC                                             Case number (if known)
           Name



                                         A. Check One:
7.   Describe debtor’s business
                                         ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                         ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                         ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                         ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                         ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                         ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                         ☒ None of the above

                                         B. Check all that apply:
                                         ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                         ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                         ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                         4481 - Clothing Stores

8. Under which chapter of the            Check One:
   Bankruptcy Code is the
   debtor filing?                        ☐ Chapter 7

      A debtor who is a “small           ☐ Chapter 9
      business debtor” must              ☒ Chapter 11. Check all that apply:
      check the first sub-box. A
      debtor as defined in §                               ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      1182(1) who elects to                                  aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      proceed under subchapter                               affiliates) are less than $2,725,625. If this sub-box is selected, attach the most recent
      V of chapter 11 (whether or                            balance sheet, statement of operations, cash-flow statement, and federal income tax
                                                             return or if any of these documents do not exist, follow the procedure in 11 U.S.C. §
      not the debtor is a “small                             1116(1)(B).
      business debtor”) must
      check the second sub-box.                            ☐ The debtor is a debtor as defined in 11 U.S.C. § 1182(1). Its aggregate noncontingent
                                                             liquidated debts (excluding debts owed to insiders or affiliates) are less than $7,500,000
                                                             and it chooses to proceed under Subchapter V of Chapter 11. If this sub-box is
                                                             selected, attach the most recent balance sheet, statement of operations, cash-flow
                                                             statement, and federal income tax return or if any of these documents do not exist,
                                                             follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                           ☒ A plan is being filed with this petition.

                                                           ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                             creditors, in accordance with 11 U.S.C. § 1126(b).
                                                           ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                             Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                             Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                             Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                           ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                             12b-2.
                                         ☐ Chapter 12

9. Were prior bankruptcy cases        ☒ No
   filed by or against the debtor     ☐ Yes.    District                           When                       Case number
   within the last 8 years?                                                                 MM/DD/YYYY
     If more than 2 cases, attach a             District                           When                       Case number
     separate list.                                                                         MM/DD/YYYY

10. Are any bankruptcy cases          ☐ No
    pending or being filed by a       ☒ Yes.                                                                  Relationship      Affiliate
                                                Debtor      See Rider 1


     Official Form 201                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                          page 2
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    Debtor           Lord & Taylor LLC                                                  Case number (if known)
              Name


       business partner or an                            District     Eastern District of Virginia
       affiliate of the debtor?                                                                                         When             08/02/2020
                                                                                                                                         MM / DD / YYYY
       List all cases. If more than 1,
       attach a separate list.                         Case number, if known _______________________


    11. Why is the case filed in this      Check all that apply:
        district?
                                           ☐    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                district.
                                           ☒    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


    12. Does the debtor own or have        ☒ No
        possession of any real             ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
        property or personal property
        that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
        attention?
                                                     ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                           safety.
                                                           What is the hazard?

                                                     ☐     It needs to be physically secured or protected from the weather.

                                                       ☐    It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                            (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or
                                                            other options).
                                                     ☐     Other


                                                     Where is the property?
                                                                                           Number         Street



                                                                                           City                                 State       Zip Code



                                                     Is the property insured?
                                                     ☐ No

                                                     ☐ Yes.         Insurance agency

                                                                    Contact name
                                                                    Phone




                           Statistical and administrative information

    13. Debtor's estimation of            Check one:
        available funds
                                          ☒ Funds will be available for distribution to unsecured creditors.
                                          ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

    14. Estimated number of               ☐     1-49                         ☐     1,000-5,000                      ☐     25,001-50,000
        creditors1                        ☐     50-99                        ☐     5,001-10,000                     ☐     50,001-100,000
                                          ☐     100-199                      ☐     10,001-25,000                    ☐     More than 100,000
                                          ☒     200-999




1
       The Debtors’ estimated assets, liabilities, and number of creditors noted here are provided on a consolidated basis.

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Debtor           Lord & Taylor LLC                                                   Case number (if known)
          Name



15. Estimated assets                 ☐       $0-$50,000                 ☐     $1,000,001-$10 million                 ☐    $500,000,001-$1 billion
                                     ☐       $50,001-$100,000           ☐     $10,000,001-$50 million                ☐    $1,000,000,001-$10 billion
                                     ☐       $100,001-$500,000          ☐     $50,000,001-$100 million               ☐    $10,000,000,001-$50 billion
                                     ☐       $500,001-$1 million        ☒     $100,000,001-$500 million              ☐    More than $50 billion




16. Estimated liabilities            ☐       $0-$50,000                  ☐    $1,000,001-$10 million                 ☐    $500,000,001-$1 billion
                                     ☐       $50,001-$100,000            ☐    $10,000,001-$50 million                ☐    $1,000,000,001-$10 billion
                                     ☐       $100,001-$500,000           ☐    $50,000,001-$100 million               ☐    $10,000,000,001-$50 billion
                                     ☐       $500,001-$1 million         ☒    $100,000,001-$500 million              ☐    More than $50 billion

                  Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of         petition.
    debtor
                                         I have been authorized to file this petition on behalf of the debtor.
                                         I have examined the information in this petition and have a reasonable belief that the information is true and
                                         correct.

                                I declare under penalty of perjury that the foregoing is true and correct.

                                         Executed on         08/02/2020
                                                              MM/ DD / YYYY


                                              /s/                                                                Ed Kremer
                                              Signature of authorized representative of debtor                Printed name

                                              Title    Chief Restructuring Officer




18. Signature of attorney                     /s/ Michael A. Condyles                                        Date        08/02/2020
                                              Signature of attorney for debtor                                           MM/DD/YYYY



                                              Michael A. Condyles
                                              Printed name
                                              Kutak Rock LLP
                                              Firm name
                                              901 East Byrd Street, Suite 1000
                                              Number                  Street
                                              Richmond                                                               Virginia           23219-4071
                                              City                                                                   State                ZIP Code
                                              (804) 644-1700                                                         michael.condyles@kutakrock.com
                                              Contact phone                                                              Email address
                                              27807                                                   Virginia
                                              Bar number                                          State




   Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 4


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 Fill in this information to identify the case:
                                                                         ,
 United States Bankruptcy Court for the:
                           Eastern District of Virginia
                                        (State)                                                   ☐ Check if this is an
 Case number (if known):                                  Chapter   11                                amended filing


                                                Rider 1
                 Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in
the United States Bankruptcy Court for the Eastern District of Virginia for relief under chapter 11 of title
11 of the United States Code. The Debtors have moved for joint administration of these cases under the
case number assigned to the chapter 11 case of Le Tote, Inc.

         •          Le Tote, Inc.
         •          French Tote LLC
         •          Le Tote, LLC
         •          Lord & Taylor LLC
         •          LT Card Company LLC
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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA
                                     RICHMOND DIVISION

                                                             )
    In re:                                                   )      Chapter 11
                                                             )
    LORD & TAYLOR LLC,                                       )      Case No. 20-___________(___)
                                                             )
                               Debtor.                       )
                                                             )

                                LIST OF EQUITY SECURITY HOLDERS1

             Debtor               Equity Holders                 Address of Equity Holder                Percentage
                                                                                                            Held
                                                           250 Vesey Street, 22nd Floor
    Lord & Taylor LLC French Tote LLC                                                                       100%
                                                           New York, New York 10281




1
       This list serves as the disclosure required to be made by the debtor pursuant to rule 1007 of the Federal Rules of
       Bankruptcy Procedure.
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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                              RICHMOND DIVISION

                                                )
 In re:                                         )    Chapter 11
                                                )
 LORD & TAYLOR LLC,                             )    Case No. 20-___________(___)
                                                )
                       Debtor.                  )
                                                )

                         CORPORATE OWNERSHIP STATEMENT

       Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or
more of any class of the debtor’s equity interest:

                 Shareholder                        Approximate Percentage of Shares Held

 French Tote LLC                                                       100%
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    Fill in this information to identify the case:

    Debtor name        Le Tote, Inc., et al.

    United States Bankruptcy Court for the:              Eastern           District of     Virginia                                              Check if this is an
    Case number (If known):                                                               (State)                                                 amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
    Unsecured Claims and Are Not Insiders                                    12/15

 A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
 disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
 secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
 largest unsecured claims.

Name of creditor and complete                  Name, telephone number, and         Nature of the         Indicate if     Amount of unsecured claim
mailing address, including zip code            email address of creditor           claim (for example,   claim is        If the claim is fully unsecured, fill in only unsecured
                                               contact                             trade debts, bank     contingent,     claim amount. If claim is partially secured, fill in
                                                                                   loans, professional   unliquidated,   total claim amount and deduction for value of
                                                                                   services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                                   government
                                                                                   contracts)
                                                                                                                         Total claim, if     Deduction        Unsecured
                                                                                                                         partially           for value of     claim
                                                                                                                         secured             collateral
                                                                                                                                             or setoff

1      LIQUIDITY CAPITAL II L.P.               UDI GVIRTS
       30 SHESHET HAYAMIM ST.                  972-54-675-7723                                                                                                $8,518,021.57
                                                                                   Bank Debt
       BNEI BRAK, ISRAEL                       UDI@LIQUIDITY-
       5120261                                 CAPITAL.COM

2      G III LEATHER FASHIONS
                                               Michelle Thiel
       INC
                                               732-230-4847                        Trade Payable                                                              $4,706,069.28
       512 SEVENTH AVENUE
                                               michelle.thiel@g-iii.com
       NEW YORK, NY 10018

3      POLO RALPH LAUREN
       CLOTHING                                Edwin Breig
       P.O. BOX 4732                           (888) 674-8528 x5784                Trade Payable                                                              $3,533,551.69
       CHURCH STREET STATION                   ebreig@ralphlauren-ar.com
       NEW YORK, NY 10249
4
       MICHAEL KORS LLC                        Mandy Yee
       11 W.42ND STREET                        201.453.5058                        Trade Payable                                                              $2,119,299.68
       NEW YORK, NY 10036                      mandy.yee@michaelkors.com

5      CRITEO CORP
                                               Ryan Damon
       100 Avenue of the Americas
                                               contact@criteo.com                  Trade Payable                                                              $1,323,415.76
       5th Floor
                                               1-646-410-0400,
       New York, NY 10013

6
       L'OREAL LANCOME                         Bruno Alyssa
       P.O. BOX 751027                         732-951-4416                        Trade Payable                                                              $1,167,411.17
       CHARLOTTE, NC 28275                     alyssa.bruno@loreal.com

7      360I LLC
       JP MORGAN CHASE-                        Karla Figueroa
       LOCKBOX                                 +1 (212) 655 9895 x4                Trade Payable                                                              $1,146,632.34
       4 Chase Metrotech 7th Flr E             kyfigueroa@sbgtv.com
       Brooklyn, NY 11245
8      Facebook, Inc.
                                               Maria Gonzales
       15161 Collections Center
                                               (512) 516-6101                      Trade Payable                                                              $1,047,293.35
       Drive
                                               mtgonzales@fb.com
       Chicago, IL 60693


Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                            page 1
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 Debtor        Le Tote, Inc., et al.                                  Case Number (if known)
               Name




Name of creditor and complete           Name, telephone number, and     Nature of the          Indicate if     Amount of unsecured claim
mailing address, including zip code     email address of creditor       claim (for example,    claim is        If the claim is fully unsecured, fill in only unsecured
                                        contact                         trade debts, bank      contingent,     claim amount. If claim is partially secured, fill in
                                                                        loans, professional    unliquidated,   total claim amount and deduction for value of
                                                                        services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                        government
                                                                        contracts)
                                                                                                               Total claim, if     Deduction        Unsecured
                                                                                                               partially           for value of     claim
                                                                                                               secured             collateral
                                                                                                                                   or setoff

9      XCEL-CT MFG LLC
                                        Karen Siew
       1333 BROADWAY
                                        347-729-7801                    Trade Payable                                                               $1,043,099.73
       10TH FLOOR
                                        KSiew@xcelbrands.com
       NEW YORK, NY 10018

10     XSCAPE EVENINGS LTD
                                        Vittoria Peralta
       1412 BROADWAY
                                        212-302-3750                    Trade Payable                                                               $1,040,607.19
       SUITE 1406
                                        vittoriaperalta@bbxco.com
       NEW YORK, NY 10018

11     RALPH LAUREN
                                        Ariel Shiffer
       CHILDRENWEAR
                                        1-888-674-8528                  Trade Payable                                                               $960,492.43
       P.O. BOX 1742
                                        ashiffer@ralphlauren-ar.com
       CUMBERLAND, MD 21502

12     Alvarez & Marsal Private
       Equity Performance               Scott Coleman
       Improvement Group, LLC           (212) 759-4433                  Professional
                                                                                                                                                    $828,744.00
       600 Madison Avenue               scoleman@alvarezandmarsal.      Services
       8th Floor                        com
       New York, NY 10022
13
       CALERES, INC                     Kate Tidyman
       51 WAKEFIELD STREET              314-854-2681                    Trade Payable                                                               $772,520.99
       ROCHESTER, NH 03867              ktidyman@caleres.com

14
       CHANEL INC                       Luz Parra
       876 CENTENNIAL AVENUE            +1 732 980 3866                 Trade Payable                                                               $745,277.06
       PISCATAWAY, NJ 08855             luz.parra@chanel.com

15     SUPREME
       INTERNATIONAL CORP.              Henry Betsy
       1411 BROADWAY                    +1 (305) 873-1017               Trade Payable                                                               $688,726.79
       2ND FLOOR                        betsy.henry@pery.com
       NEW YORK, NY 10018
16                                      Nicole Kirk
       Performance Team LLC
                                        (424) 358-6940
       2240 E MAPLE AVE                                                 Trade Payable                                                               $590,190.00
                                        nicole.kirk@performanceteam
       EL SEGUNDO, CA 90245
                                        .net

17     URBAN OUTFITTERS
       WHSL INC                         Kevin Redmond
       209 W 38TH STREET                215-454-3850                    Trade Payable                                                               $566,111.58
       7TH FLOOR                        kredmond1@urbn.com
       NEW YORK, NY 10018
18     BETSY N ADAM
                                        Vittoria Peralta
       525 Fashion Ave.
                                        212-302-3750                    Trade Payable                                                               $563,431.50
       21st Floor
                                        vittoriaperalta@bbxco.com
       NEW YORK, NY 10018

19     STEVEN MADDEN LTD.               Sunita Melaram
       52-16 BARNETT AVENUE             718-308-2448
                                                                        Trade Payable                                                               $557,199.52
       LONG ISLAND CITY, NY             sunitamelaram@stevemadde
       11104                            n.com




Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                    Page 2
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 Debtor        Le Tote, Inc., et al.                                  Case Number (if known)
               Name




Name of creditor and complete           Name, telephone number, and     Nature of the          Indicate if     Amount of unsecured claim
mailing address, including zip code     email address of creditor       claim (for example,    claim is        If the claim is fully unsecured, fill in only unsecured
                                        contact                         trade debts, bank      contingent,     claim amount. If claim is partially secured, fill in
                                                                        loans, professional    unliquidated,   total claim amount and deduction for value of
                                                                        services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                        government
                                                                        contracts)
                                                                                                               Total claim, if     Deduction        Unsecured
                                                                                                               partially           for value of     claim
                                                                                                               secured             collateral
                                                                                                                                   or setoff

20     ALEX APPAREL GROUP,
       INC.                             Celia Bonifaz
       1400 BROADWAY                    212-549-8515                    Trade Payable                                                               $553,657.61
       10TH FLOOR                       celia@alexevenings.com
       NEW YORK, NY 10018
21     LUCKY BRAND BATHING
       SUITS                            Alicia Maes
       214 WEST 39TH ST.                714.490.1313 ext#244            Trade Payable                                                               $499,406.39
       RM 702                           aliciam@lunadabay.net
       NEW YORK, NY 10018
22     TECH MAHINDRA LIMITED            Vineet Vij,
       4965 PRESTON PARK                214-974-9907
                                                                        Trade Payable                                                               $495,381.20
       BLVD S-500                       CONNECT@TECHMAHINDR
       PLANO, TX 75093                  A.COM

23     DESIGNER FRAGRANCE
                                        Bruno Alyssa
       77 DEANS RHODE HALL
                                        732-951-4416                    Trade Payable                                                               $489,523.39
       ROAD
                                        alyssa.bruno@loreal.com
       MONMOUTH, NJ 08852

24
       NIC + ZOE                        Andrea Ofgant
       323 SPEEN STREET                 508-545-8534                    Trade Payable                                                               $451,372.70
       NATICK, MA 01760                 aofgant@nicandzoe.com

25     CHRISTIAN DIOR
                                        Jo Ann Garland
       INTIMATES
                                        732-346-6887                    Trade Payable                                                               $425,008.23
       371 HOES LANE
                                        joann.garland@lvmhuspc.com
       PISCATAWAY, NJ 08854

26     FLIK INTERNATIONAL               Evan Laspina
       CORP                             516.236.1932
                                                                        Trade Payable          Disputed                                             $423,976.50
       P.O BOX 417632                   Evan.Laspina@compass-
       BOSTON, MA 02241-7632            usa.com

27     TOMMY BAHAMA
                                        Priscilla Bryant
       1071 AVE OF THE
                                        404-454-4688                    Trade Payable                                                               $408,779.75
       AMERICA'S
                                        pbryant@oxfordinc.com
       NEW YORK, NY 10018

28
       KIEHL'S SINCE 1851               Nayaz Amina
       P.O. BOX 751535                  732-951-4416                    Trade Payable                                                               $391,861.60
       CHARLOTTE, NC 28275              amina.nayaz@loreal.com

29                                      Daniela Cascino
       PEERLESS CLOTHING INT.
                                        514-593-9300 ext. 1442
       1290 SIXTH AVENUE                                                Trade Payable                                                               $385,455.45
                                        danielac@peerless-
       NEW YORK, NY 10104
                                        clothing.com

30     ESTEE LAUDER INC.
                                        Heather Raimondi
       P.O. BOX 65509
                                        631-847-8468                    Trade Payable                                                               $374,077.31
       CHARLOTTE, NC 28202-
                                        hraimond@estee.com
       0000




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    Fill in this information to identify the case and this filing:

   Debtor Name          Lord & Taylor LLC

   United States Bankruptcy Court for the:                Eastern District of Virginia
                                                                                                    (State)
   Case number (If known):



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                          12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration                        List of Equity Security Holders and Corporate Ownership
            Statement
    I declare under penalty of perjury that the foregoing is true and correct.

     Executed on
                                                                                    /s/
                                        08/02/2020
                                        MM/ DD/YYYY                                Signature of individual signing on behalf of debtor
                                                                                   Ed Kremer
                                                                                   Printed name
                                                                                   Chief Restructuring Officer
                                                                                   Position or relationship to debtor

Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors




                                                                                               Doc ID: 11d4380b18f8da21f862de95ed71fee862ecbea2
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                                        LE TOTE, INC.

                                          July 30, 2020

I, Michael O. van den Berg, Corporate Secretary of Le Tote, Inc., a Delaware corporation (the
“Company”), do herby certify the following:

1. I am the duly qualified and appointed Corporate Secretary of the Company.

2. Attached hereto as Exhibit A is a true, correct, and complete copy of the resolutions
   (the “Resolutions”) duly adopted by the board of directors of the Company, acting pursuant to
   the Company’s bylaws (as amended, amended and restated, modified, supplemented, or
   replaced from time to time, the “Bylaws”).

3. The Resolutions are not inconsistent with the Bylaws.

4. The Resolutions have not been amended, modified, repealed, or rescinded since adopted, and
   are in full force and effect on and as of the date hereof.

                                    [Signature page follows]
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        IN WITNESS WHEREOF, the undersigned has executed this certificate as of the date
first written hereof.



 Name: Michael O. van den Berg
 Title: General Counsel and Corporate Secretary
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                                   EXHIBIT A
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                                RESOLUTIONS
                  OF THE BOARD OF DIRECTORS OF LE TOTE, INC.

                                          July 30, 2020

      WHEREAS, a telephonic meeting (the “Meeting”) of the Board of Directors (the
“Board”) of Le Tote, Inc. (“Le Tote”), a Delaware Corporation, acting on behalf of:

           1) Le Tote, in its own capacity and in its capacity as managing member of French Tote
              LLC, a Delaware limited liability company (“French Tote”);

           2) French Tote, in its own capacity and in its capacity as the managing member of
              (a) Le Tote, LLC, a Delaware limited liability company, and (b) Lord & Taylor,
              LLC, a Delaware limited liability company (“Lord & Taylor”);

           3) Lord & Taylor, in its own capacity and in its capacity as the managing member of
              LT Card Company, LLC, a Virginia limited liability company (“LTCC,” and
              collectively with Le Tote, French Tote, Le Tote, LLC, and Lord & Taylor,
              the “Companies” or each, a “Company”); and

           4) Le Tote, LLC and LTCC, each in its own capacity,

was concluded on July 30, 2020.

        WHEREAS, the Board hereby consents, pursuant to the articles of incorporation, bylaws,
limited liability company agreement, limited partnership agreement, or similar document (in each
case as amended or amended and restated to date) of each Company (the “Governing Document”),
to the taking of the following actions and the adoption of the following recitals and resolutions
(the “Resolutions”), and to the waiver of all notices and the holding of a meeting for the purpose
of considering the same:

Chapter 11 Filing

         WHEREAS, the Board has considered presentations by management (the “Management”)
and the financial and legal advisors (collectively, the “Advisors”) of the Companies regarding the
liabilities and liquidity situation of the Companies, the strategic alternatives available to the
Companies, and the effect of the foregoing on such entities’ businesses;

       WHEREAS, the Board discussed the foregoing with Management and the Advisors of the
Companies and the Board has fully considered each of the strategic alternatives available to each
Company and has determined, in the reasonable business judgment of the Board, that the following
Resolutions are in the best interests of the Companies and their respective equityholders, creditors
and other parties in interest;

       NOW, THEREFORE, BE IT,

      RESOLVED, that in the judgment of the Board it is desirable and in the best interests of
the Companies, their creditors, and other parties in interest, that each such entity shall be and
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hereby is authorized to file or cause to be filed a voluntary petition for relief (such voluntary
petition and the voluntary petitions to be filed, collectively, the “Chapter 11 Cases”) under the
provisions of chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101–1532
(the “Bankruptcy Code”) in the United States Bankruptcy Court for the Eastern District of Virginia
(the “Bankruptcy Court”) or other court of competent jurisdiction.

        RESOLVED, that the Chief Restructuring Officer, Chief Financial Officer, General
Counsel, Secretary, any Executive Vice President, any Senior Vice President, any Vice President,
or any other duly appointed officer of the Companies (each, an “Authorized Signatory”), acting
alone or with one or more other Authorized Signatory be, and each of them hereby is, authorized,
empowered, and directed to execute and file on behalf of the Companies all petitions, schedules,
lists, and other motions, pleadings, papers, or documents (including the filing of financing
statements), and to take any and all action that they deem necessary, appropriate, or desirable to
obtain such relief, including, without limitation, any action necessary, appropriate, or desirable to
maintain the ordinary course operation of the Companies’ business.

Filing of the Chapter 11 Plan

        WHEREAS, the Company, with the assistance of Management and the Advisors, has
formulated a plan of reorganization under chapter 11 of the Bankruptcy Code (as amended or
restated from time to time, the “Plan”) and a disclosure statement with all related exhibits thereto
(as amended or restated from time to time, the “Disclosure Statement”);

       WHEREAS, the Board has had the opportunity to review the Plan and Disclosure
Statement and has had the opportunity to consult with the Advisors concerning the Plan and
Disclosure Statement;

       WHEREAS, in the business judgment of the Board it is desirable and in the best interests
of each Company, its creditors, and other stakeholders that the Company file the Plan and
Disclosure Statement with the Bankruptcy Court, amend or restate the Plan and/or Disclosure
Statement from time to time as may be necessary in the reasonable business judgment of the
Authorized Signatories, and seek confirmation of the Plan;

       NOW, THEREFORE, BE IT,

        RESOLVED, that in the business judgment of the Board it is desirable and in the best
interests of each Company, its creditors, and other stakeholders that the Authorized Signatories
file or cause to be filed the Plan, the Disclosure Statement, and all other papers or documents
(including any amendments) related thereto, and to take any and all actions that they deem
necessary or appropriate to pursue confirmation and consummation of a plan of reorganization
materially consistent with the Plan.

        RESOLVED, that the Authorized Signatories acting alone or with one or more other
Authorized Signatories be, and each of them hereby is, authorized, empowered, and directed,
together with the Advisors, to file all other documents deemed necessary to confirm a plan of
reorganization materially consistent with the Plan, including, but not limited to, any amendments
to, and modifications of, the Plan and the Disclosure Statement.
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        RESOLVED, that the Authorized Signatories acting alone or with one or more other
Authorized Signatory be, and each of them hereby is, authorized, empowered, and directed to
execute and file on behalf of the Companies, and they hereby are, authorized, empowered and
directed to take or cause to be taken any and all such other and further action, and to execute,
acknowledge, deliver, and file any and all such instruments as each, in his or her discretion, may
deem necessary or advisable in order to consummate the Plan if confirmed by the Bankruptcy
Court.

Retention of Professionals

        RESOLVED, that the Authorized Signatories acting alone or with one or more other
Authorized Signatories be, and each of them hereby is, authorized, empowered and directed to
employ the law firm of Kirkland & Ellis LLP (“Kirkland”), as the Companies’ counsel, to represent
and assist the Companies in carrying out their duties under the Bankruptcy Code and to take any
and all actions to advance the Companies’ rights and remedies, including filing any pleadings and
conducting any potential sale process on behalf of each Company; and, in connection therewith,
each Authorized Signatory, with power of delegation, is hereby authorized, empowered and
directed to execute appropriate retention agreements, pay appropriate retainers, and to cause to be
filed an appropriate application for authority to retain Kirkland in accordance with applicable law.

        RESOLVED, that the Authorized Signatories acting alone or with one or more other
Authorized Signatories be, and each of them hereby is, authorized, empowered and directed to
employ the law firm of Kutak Rock LLP (“Kutak”), as the Companies’ local counsel, to represent
and assist the Companies in carrying out their duties under the Bankruptcy Code and to take any
and all actions to advance the Companies’ rights and remedies, including filing any pleadings and
conducting any potential sale process on behalf of each Company; and, in connection therewith,
each Authorized Signatory, with power of delegation, is hereby authorized, empowered and
directed to execute appropriate retention agreements, pay appropriate retainers, and to cause to be
filed an appropriate application for authority to retain Kutak in accordance with applicable law.

        RESOLVED, that the Authorized Signatories acting alone or with one or more other
Authorized Signatories be, and each of them hereby is, authorized, empowered and directed to
employ the firm of Berkeley Research Group, LLC (“BRG”), as the Companies’ financial advisor,
to represent and assist the Companies in carrying out their duties under the Bankruptcy Code, and
to take any and all actions to advance the Companies’ rights and remedies; and, in connection
therewith, each Authorized Signatory is, with power of delegation, hereby authorized, empowered
and directed to execute appropriate retention agreements, pay appropriate retainers, and to cause
to be filed an appropriate application for authority to retain BRG in accordance with applicable
law.

       RESOLVED, that the Authorized Signatories acting alone or with one or more other
Authorized Signatories be, and each of them hereby is, authorized, empowered and directed to
employ the firm of Nfluence Partners (“Nfluence”), as the Companies’ investment banker, to
represent and assist the Companies in carrying out their duties under the Bankruptcy Code, and to
take any and all actions to advance the Companies’ rights and remedies; and, in connection
therewith, each Authorized Signatory is, with power of delegation, hereby authorized, empowered
and directed to execute appropriate retention agreements, pay appropriate retainers, and to cause
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to be filed an appropriate application for authority to retain Nfluence in accordance with applicable
law.

         RESOLVED, that the Authorized Signatories acting alone or with one or more other
Authorized Signatories be, and each of them hereby is, authorized, empowered and directed to
employ the firm of Bankruptcy Management Solutions, Inc. d/b/a Stretto (“Stretto”), as the
Companies’ notice, claims, and balloting agent and as administrative advisor, to represent and
assist the Companies in carrying out their duties under the Bankruptcy Code, and to take any and
all actions to advance the Companies’ rights and remedies; and, in connection therewith, each
Authorized Signatory, with power of delegation, is hereby authorized, empowered and directed to
execute appropriate retention agreements, pay appropriate retainers, and to cause to be filed an
appropriate application for authority to retain Stretto in accordance with applicable law.

        RESOLVED, that the Authorized Signatories acting alone or with one or more other
Authorized Signatories be, and each of them hereby is, authorized, empowered and directed to
employ any other professionals to assist the Companies in carrying out their duties under the
Bankruptcy Code; and, in connection therewith, each Authorized Signatory, with power of
delegation, is hereby authorized, empowered and directed to execute appropriate retention
agreements, pay appropriate retainers, and to cause to be filed an appropriate application for
authority to retain the services of any other professionals as necessary, appropriate, or desirable,
including (without limitation) special counsel to the extent determined necessary, appropriate, or
desirable.

       RESOLVED, that the Authorized Signatories acting alone or with one or more other
Authorized Signatories be, and each of them hereby is, with power of delegation, authorized,
empowered, and directed to execute and file all petitions, schedules, motions, lists, applications,
pleadings, and other papers and, in connection therewith, to employ and retain legal counsel,
accountants, financial advisors, restructuring advisors, and other professionals and to take and
perform any and all further acts and deeds that each Authorized Signatory deem necessary,
appropriate, or desirable in connection with the Chapter 11 Cases.

Cash Collateral and Adequate Protection

       WHEREAS, the Companies are party to that certain Credit Agreement, dated as of
November 8, 2019 (as amended by Amendment No. 1 to the Credit Agreement, dated as of
January 9, 2020, and Amendment No. 2 to the Credit Agreement, dated as of March 23, 2020),
providing access to a revolving credit facility, by and among Le Tote, as lead borrower, French
Tote, Le Tote, LLC, and Lord & Taylor, as additional borrowers, and LTCC, as guarantor, Wells
Fargo Bank, National Association, as administrative and collateral agent, and each of the lenders
from time to time party thereto (as may be amended from time to time, the “ABL Credit Facility”);

       WHEREAS, the Companies are party to that certain Term Loan Agreement, dated as of
November 8, 2019 (as amended by Amendment No. 1 to the Term Loan Agreement, dated as of
January 9, 2020, and Amendment No. 2 to the Term Loan Agreement, dated as of March 23, 2020),
providing access to a term loan credit facility, by and among Le Tote, as lead borrower, French
Tote, Le Tote, LLC, and Lord & Taylor, as additional borrowers, and LTCC as guarantor, TCG
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BDC, Inc., as administrative agent and collateral agent, and each of the lenders from time to time
party thereto (as may be amended from time to time, the “Term Loan Credit Facility”); and

        WHEREAS, certain of the Companies are party to that certain Promissory Note, dated as
of November 8, 2019, by and among Le Tote, as borrower, and HBC US Propco Holdings LLC,
as seller (the “Seller Note”).

       NOW, THEREFORE, BE IT,

       RESOLVED, that each Company will obtain benefits from the use of collateral, including
cash collateral, as that term is defined in section 363(a) of the Bankruptcy Code (the “Cash
Collateral”), which is security for certain prepetition secured parties (collectively, the “Prepetition
Secured Parties”) under the ABL Credit Facility, the Term Loan Credit Facility, and the Seller
Note.

       RESOLVED, that in order to use and obtain the benefits of the Cash Collateral, and in
accordance with section 363 of the Bankruptcy Code, each Company will provide certain liens,
claims, and adequate protection to the Prepetition Secured Lenders (the “Adequate Protection
Obligations”) as documented in a proposed order in interim and final form, as applicable (the
“Cash Collateral Order”) and to be submitted for approval to the Bankruptcy Court.

        RESOLVED, that the form, terms, and provisions of the Cash Collateral Order to which
each Company is or will be subject, and the actions and transactions contemplated thereby be, and
hereby are authorized, adopted, and approved, and that the Authorized Signatories acting alone or
with one or more other Authorized Signatories be, and each of them hereby is, authorized and
empowered, in the name of and on behalf of each Company, to take such actions and negotiate or
cause to be prepared and negotiated and to execute, deliver, perform, and cause the performance
of, the Cash Collateral Order, and such other agreements, certificates, instruments, receipts,
petitions, motions, or other papers or documents to which each Company is or will be a party,
including, but not limited to, any security and pledge agreement or guaranty agreement
(collectively with the Cash Collateral Order, the “Cash Collateral Documents”), incur and pay or
cause to be paid all fees and expenses and engage such persons, in each case, in the form or
substantially in the form thereof submitted to the Companies, with such changes, additions, and
modifications thereto as the officers of each Company executing the same shall approve, such
approval to be conclusively evidenced by such officers’ execution and delivery thereof.

        RESOLVED, that each Company, as a debtor and debtor in possession under the
Bankruptcy Code be, and hereby is, authorized to incur the Adequate Protection Obligations and
certain obligations related to the Cash Collateral and to undertake any and all related transactions
on substantially the same terms as contemplated under the Cash Collateral Documents
(collectively, the “Cash Collateral Transactions”), including granting liens on its assets to secure
such obligations.

        RESOLVED, that the Authorized Signatories acting alone or with one or more other
Authorized Signatories be, and each of them hereby is, authorized, directed, and empowered in the
name of, and on behalf of, each Company, as a debtor and debtor in possession, to take such actions
as in their discretion is determined to be necessary, desirable, or appropriate and execute the Cash
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Collateral Transactions, including delivery of: (a) the Cash Collateral Documents; (b) such other
instruments, certificates, notices, assignments, and documents as may be reasonably requested by
the agents; and (c) such forms of deposit, account control agreements, officer’s certificates, and
compliance certificates as may be required by the Cash Collateral Documents.

        RESOLVED, that the Authorized Signatories acting alone or with one or more other
Authorized Signatories be, and each of them hereby is, authorized, directed, and empowered in the
name of, and on behalf of, each Company to take all such further actions, including, without
limitation, to pay or approve the payment of all fees and expenses payable in connection with the
Cash Collateral Transactions and all fees and expenses incurred by or on behalf of each Company
in connection with the foregoing Resolutions, in accordance with the terms of the Cash Collateral
Documents, which shall in their sole judgment be necessary, desirable, proper, or advisable to
perform any of each Company’s obligations under or in connection with the Cash Collateral Order
or any of the other Cash Collateral Documents and the transactions contemplated therein and to
carry out fully the intent of the foregoing Resolutions.

General

        RESOLVED, that in addition to the specific authorizations heretofore conferred upon the
Authorized Signatories, the Authorized Signatories acting alone or with one or more other
Authorized Signatories be, and each of them hereby is, authorized and empowered, in the name of
and on behalf of the Companies, to take or cause to be taken any and all such other and further
action, and to execute, acknowledge, deliver, and file any and all such agreements, certificates,
instruments, and other documents and to pay all expenses, in each case as in such Authorized
Signatory’s judgment, shall be necessary, appropriate, or desirable in order to fully carry out the
intent and accomplish the purposes of the Resolutions adopted herein.

        RESOLVED, that the Board has received sufficient notice of the actions and transactions
relating to the matters contemplated by the foregoing Resolutions, as may be required by the
Governing Documents of the Companies, or hereby waives any right to have received such notice.

        RESOLVED, that all acts, actions and transactions relating to the matters contemplated
by the foregoing resolutions done in the name of and on behalf of the Companies, which acts would
have been approved by the foregoing Resolutions except that such acts were taken before the
adoption of these Resolutions, are hereby in all respects approved and ratified as the true acts and
deeds of the Companies with the same force and effect as if each such act, transaction, agreement
or certificate has been specifically authorized in advance by resolution of the Board.

        RESOLVED, that the Authorized Signatories (and their authorized designees or delegates)
acting alone or with one or more other Authorized Signatories be, and each of them hereby is,
authorized and empowered to take all actions or to not take any action in the name of the
Companies with respect to the transactions contemplated by these Resolutions hereunder, as such
Authorized Signatory shall deem necessary or desirable in such Authorized Signatory’s reasonable
business judgment to effectuate the purposes of the transactions contemplated herein.
                                  *      *       *       *      *
